E-FILED 2022 DEC 21 4:19 PM LUCAS - CLERK OF DISTRICT COURT




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       E-FILED 2022 NOV 23 9:30 AM LUCAS - CLERK OF DISTRICT COURT




              E-FILED 2022 NOV 03 4:58 PM LUCAS - CLERK OF DISTRICT COURT



I HAVE READ THE FOREGOING CONFESSION OF JUDGMENT. I HAVE CONSUL TED
WITH MY ATTORNEY REGARDING THIS CONFESSION OF JUDGMENT. I
UNOERST AND THE TERMS OF THIS CONFESSION OF JUDGMENT, AND FREELY
AND VOLUNTARILY SIGN THE SAME.




       Thomas E. Uthe

UTHEFA�NC. �

By::st�
      111omas E. Uthe, President


STATE OF IOWA, MARION COUNTY, ss.

       On December 16th, 2022, Thomas E. Uthe appeared before the undersigned Notary
Public and, being duly sworn, stated that his is the identical person named in and who
executed the preceding document on his own behalf, and acknowledged its voluntary
execution.

                                             ��;Q��
                                              NotaryPulic in and for
                                                         the State of Iowa

STATE OF IOWA, MCl/,�f011        COUNTY, ss.

         On �i&t�L, 2022, Jodie L. Uthe appeared before the undersigned Notary Public and,
being duly sworn, stated that she is the identical person named in and who executed the
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         ow          I {}-4-/                              otary Public in and for
                                                             the State of Iowa

STATE OF IOWA, MARION COUNTY, ss.

        On December 16th, 2022, Thomas E. Uthe, on behalf of Uthe Farms, Inc., appeared
before the undersigned Notary Public and, being duly sworn, stated that he is the identical
person named in and who executed the preceding document on behalf of Uthe Farms, Inc.,
and acknowledged its voluntary execution.




                                                                             Ex. 2 - Page 3 of 3
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